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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

 THE NEW YORK TIMES COMPANY,

                   Plaintiff,
                                                        No. 1:23-cv-11195-SHS-OTW
                      v.

 MICROSOFT CORPORATION, OPENAI, INC.,
 OPENAI LP, OPENAI GP, LLC, OPENAI, LLC,
 OPENAI OPCO LLC, OPENAI GLOBAL LLC,
 OAI CORPORATION, LLC, OPENAI
 HOLDINGS, LLC,

                   Defendants.

 DAILY NEWS, LP; CHICAGO TRIBUNE
 COMPANY, LLC; ORLANDO SENTINEL
 COMMUNICATIONS COMPANY, LLC; SUN-
 SENTINEL COMPANY, LLC; SAN JOSE                        No. 1:24-cv-03285-SHS-OTW
 MERCURY-NEWS, LLC; DP MEDIA NETWORK,
 LLC; ORB PUBLISHING, LLC; AND
 NORTHWEST PUBLICATIONS, LLC,

                   Plaintiff,

                       v.

 MICROSOFT CORPORATION, OPENAI, INC.,
 OPENAI LP, OPENAI GP, LLC, OPENAI, LLC,
 OPENAI OPCO LLC, OPENAI GLOBAL LLC,
 OAI CORPORATION, LLC, OPENAI
 HOLDINGS, LLC,

                   Defendants.


DECLARATION OF ELANA NIGHTINGALE DAWSON IN SUPPORT OF OPENAI
     DEFENDANTS’ PRE-MOTION LETTER RE PROTECTIVE ORDER

I, Elana Nightingale Dawson, declare as follows:

       1.     I am a partner at Latham & Watkins LLP, and counsel for Defendants OpenAI,

Inc., OpenAI LP, OpenAI GP, LLC, OpenAI, LLC, OpenAI OpCo LLC, OpenAI Global LLC,
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OAI Corporation, LLC, and OpenAI Holdings, LLC (hereafter “OpenAI”) in this matter. I have

personal knowledge of the facts set forth in this declaration. If called as a witness, I could and

would competently testify as to these facts under oath.

       2.      I submit this Declaration in Support of OpenAI’s Letter Requesting a Pre-Motion

Conference Re Protective Order related to Dr. Ricardo Baeza-Yates.

       3.      Plaintiffs Daily News, LP; Chicago Tribune Company, LLC; Orlando Sentinel

Communications Company, LLC; Sun-Sentinel Company, LLC; San Jose Mercury-News, LLC;

DP Media Network, LLC; Orb Publishing, LLC; and Northwest Publications, LLC (the “Daily

News Plaintiffs”) have disclosed 13 experts or consultants pursuant to Paragraph 16 of the

Protective Order in this case. The CVs that the Daily News Plaintiffs provided for those experts

or consultants indicated that three of them work in the field of artificial intelligence, and another

five work in computer-related fields.

       4.      The CVs that the Daily News Plaintiffs provided to OpenAI for Dr. Baeza-Yates

did not identify his role as the current Chief Scientific Officer for Theodora AI. OpenAI learned

of Dr. Baeza-Yates’s role as Chief Scientific Officer through its own independent investigation.

       5.      On October 10, 2024, the parties conferred in good faith by video conference

regarding OpenAI’s objection to the disclosure of highly confidential information to Dr. Baeza-

Yates. The parties also conferred via email both before and after October 10. During the parties’

conferrals, the Daily News Plaintiffs did not identify any hardships that the Daily News Plaintiffs

would suffer should they not be able to disclose OpenAI’s highly confidential information to Dr.

Baeza-Yates.

       6.      The parties’ conferral efforts regarding OpenAI’s objection were unsuccessful.

       7.      Attached hereto as Exhibit A is a true and correct copy of the first CV for Dr.



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Baeza-Yates that the Daily News Plaintiffs provided to OpenAI when disclosing Dr. Baeza-Yates.

       8.      After OpenAI informed the Daily News Plaintiffs that Dr. Baeza-Yates’s CV

appeared to be incomplete, the Daily News Plaintiffs provided OpenAI with a second CV for Dr.

Baeza-Yates. Attached hereto as Exhibit B is a true and correct copy of the second CV for Dr.

Baeza-Yates that the Daily News Plaintiffs provided to OpenAI.

       9.      Attached hereto as Exhibit C is a true and correct copy of a PDF printout of the

Theodora AI website (Theodora.ai).

       10.     Attached hereto as Exhibit D is a true and correct copy of a PDF printout of

Theodora AI’s LinkedIn page.

       11.     Attached hereto as Exhibit E is a true and correct copy of the CV for Dr. Oren

Etzioni that the Daily News Plaintiffs provided to OpenAI when disclosing him as a consultant to

whom the Daily News Plaintiffs wanted to disclose highly confidential OpenAI information.

       12.     Attached hereto as Exhibit F is a true and correct copy of the CV for Dr. Melanie

Mitchell that the Daily News Plaintiffs provided to OpenAI when disclosing her as a consultant to

whom the Daily News Plaintiffs wanted to disclose highly confidential OpenAI information.

       13.     Attached hereto as Exhibit G a true and correct copy of the CV for Dr. Vinay

Hooloomann that the Daily News Plaintiffs provided to OpenAI when disclosing him as a

consultant to whom the Daily News Plaintiffs wanted to disclose highly confidential OpenAI

information.

       14.     Attached hereto as Exhibit H is a true and correct copy of the email correspondence

between the Daily News Plaintiffs and OpenAI regarding the disclosure of Dr. Baeza-Yates.




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I declare under penalty of perjury that the foregoing is true and correct.

Executed this 18th day of October, 2024 in Silver Spring, Maryland.



                                                      By:________________________
                                                         Elana Nightingale Dawson




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